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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

UNITED STATES OF AMERICA                        '
                                                '
       v.                                       '   CRIMINAL NO. 4:17-cr-431
                                                '
STEPHEN P. LYNCH,                               '
           Defendant.                           '

                    NOTICE OF DECLARATION OF PUBLICATION

       The United States of America has published notice of this forfeiture action as stated in the

attached and incorporated declaration.

                                                            Respectfully submitted,

                                                            RYAN K. PATRICK
                                                            United States Attorney


                                                    By:     s/Lori Roth
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Attachment 1


                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
            COURT CASE NUMBER: 4:17-CR-431; NOTICE OF FORFEITURE

      Notice is hereby given that on June 07, 2018, in the case of U.S. v. Stephen P.
Lynch, Court Case Number 4:17-CR-431, the United States District Court for the
Southern District of Texas entered an Order condemning and forfeiting the following
property to the United States of America:

The following items seized from a residence in Kingwood Texas:

a Toshiba Laptop 541H;
a Nikon Digital Camera;
a 320 GB Western Digital Hard Drive serial number WXF0E79MS657;
a HP Laptop serial number USH816002L;
a 16 GB SD card; and
a Toshiba Laptop serial number SN2A108403H.

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any
person, other than the defendant(s) in this case, claiming interest in the forfeited
property must file an ancillary petition within 60 days of the first date of publication
(June 13, 2018) of this Notice on this official government internet web site, pursuant to
Rule 32.2 of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The
ancillary petition must be filed with the Clerk of the Court, U.S. District Courthouse, 515
Rusk, Houston, TX 77002, and a copy served upon Assistant United States Attorney
Lori Roth, 1000 Louisiana, Suite 2300, Houston, TX 77002. The ancillary petition shall
be signed by the petitioner under penalty of perjury and shall set forth the nature and
extent of the petitioner's right, title or interest in the forfeited property, the time and
circumstances of the petitioner's acquisition of the right, title and interest in the
forfeited property and any additional facts supporting the petitioner's claim and the
relief sought, pursuant to 21 U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such
petitions are filed, following the expiration of the period specified above for the filing of
such ancillary petitions, the United States shall have clear title to the property and may
warrant good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any
facts you believe justify the return of the property; and be signed under oath, subject to
the penalty of perjury, or meet the requirements of an unsworn statement under
penalty of perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to
remission or mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria
for remission of the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for
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mitigation of the forfeiture are found at 28 C.F.R. Sections 9.5(b). The petition for
remission need not be made in any particular form and may be filed online or in writing.
You should file a petition for remission not later than 11:59 PM EST 30 days after the
date of final publication of this notice. See 28 C.F.R. Section 9.3(a). The
https://www.forfeiture.gov/FilingPetition.htm website provides access to a standard
petition for remission form that may be mailed and the link to file a petition for
remission online. If you cannot find the desired assets online, you must file your
petition for remission in writing by sending it to Assistant United States Attorney Lori
Roth, 1000 Louisiana, Suite 2300, Houston, TX 77002. This website provides
answers to frequently asked questions (FAQs) about filing a petition for remission.
You may file both an ancillary petition with the court and a petition for remission or
mitigation.
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                                 Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between June 13, 2018 and July 12, 2018. Below is a summary report that identifies the uptime for each
day within the publication period and reports the results of the web monitoring system’s daily check that
verifies that the advertisement was available each day.

U.S. v. Stephen P. Lynch

Court Case No:              4:17-CR-431
For Asset ID(s):            See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   06/13/2018                      24.0                          Verified
         2                   06/14/2018                      24.0                          Verified
         3                   06/15/2018                      24.0                          Verified
         4                   06/16/2018                      24.0                          Verified
         5                   06/17/2018                      24.0                          Verified
         6                   06/18/2018                      24.0                          Verified
         7                   06/19/2018                      24.0                          Verified
         8                   06/20/2018                      24.0                          Verified
         9                   06/21/2018                      24.0                          Verified
        10                   06/22/2018                      24.0                          Verified
        11                   06/23/2018                      24.0                          Verified
        12                   06/24/2018                      24.0                          Verified
        13                   06/25/2018                      24.0                          Verified
        14                   06/26/2018                      23.9                          Verified
        15                   06/27/2018                      24.0                          Verified
        16                   06/28/2018                      24.0                          Verified
        17                   06/29/2018                      24.0                          Verified
        18                   06/30/2018                      24.0                          Verified
        19                   07/01/2018                      24.0                          Verified
        20                   07/02/2018                      24.0                          Verified
        21                   07/03/2018                      24.0                          Verified
        22                   07/04/2018                      24.0                          Verified
        23                   07/05/2018                      24.0                          Verified
        24                   07/06/2018                      24.0                          Verified
        25                   07/07/2018                      24.0                          Verified
        26                   07/08/2018                      24.0                          Verified
        27                   07/09/2018                      24.0                          Verified
        28                   07/10/2018                      24.0                          Verified
        29                   07/11/2018                      24.0                          Verified
        30                   07/12/2018                      24.0                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
